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15                              UNITED STATES DISTRICT COURT

16                           NORTHERN DISTRICT OF CALIFORNIA

17                                     SAN FRANCISCO DIVISION

18
19 WIWYNN CORPORATION,                                 Case No. 3:24-cv-05322-AGT

20                        Plaintiff,                   [PROPOSED] ORDER GRANTING
                                                       DEFENDANT X CORP.’S
21          v.                                         MOTION TO DISMISS WIWYNN’S
                                                       FIRST AMENDED COMPLAINT
22 X CORP.,

23                       Defendant.                    Date:       January 17, 2025
                                                       Time:       10:00 a.m.
24                                                     Crtrm:      A, 15th Floor
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                                                                      Case No. 3:24-cv-05322-AGT
                      [PROPOSED] ORDER GRANTING X CORP.’S MOTION TO DISMISS
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 1                                       [PROPOSED] ORDER

 2           Before the Court is Defendant X Corp.’s Motion to Dismiss Plaintiff Wiwynn Corp.’s First

 3 Amended Complaint (“X’s Motion”). Upon due consideration of the briefs and arguments of

 4 counsel, the applicable law, and the entire record herein, and all parties having been given notice

 5 and an opportunity to be heard, the Court concludes that X’s Motion should be granted pursuant to

 6 Federal Rule of Civil Procedure 12(b)(6) because Plaintiff Wiwynn Corp. fails to state each of its

 7 claims.

 8           Accordingly, it is hereby ORDERED that X’s Motion is GRANTED, and the First

 9 Amended Complaint is hereby DISMISSED in its entirety with prejudice and without leave to

10 amend.

11           IT IS SO ORDERED.

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     DATED: ________________________                    ____________________________________
13                                                      Honorable Alex G. Tse
14                                                      United States Magistrate Judge

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                                                2                       Case No. 3:24-cv-05322-AGT
                        [PROPOSED] ORDER GRANTING X CORP.’S MOTION TO DISMISS
